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ATTORNEYS FOR
SCOTT M. SEIDEL, TRUSTEE

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 In re:                                          §
                                                 §
                                                               Case No. 22-31641-mvl7
 GOODMAN NETWORKS, INC.,                         §
                                                                     (Chapter 7)
                                                 §
          Debtor.                                §
                                                 §
 SCOTT M. SEIDEL, TRUSTEE, et al.,               §
                                                 §
          Plaintiff,                             §
                                                 §
                                                                Adv. No. 23-03072-mvl
 v.                                              §
                                                 §
 18920 NW 11TH, LLC, et al.,                     §
                                                 §
          Defendants.                            §

                       NOTICE OF AMENDED DISCOVERY RESPONSES

          PLEASE TAKE NOTICE that, on July 19, 2024, 18920 NW 11th, LLC, Steven

Zakharyayev, and Evelina Pinkhasova (together, the “Discovery Defendants”) served upon the

Trustee amended responses to the Trustee’s first set of discovery requests which are the subject of

the Trustee’s Motion to Compel Written Discovery Responses and Production of Documents from

18920 NW 11th, LLC, Steven Zakharyayev, and Evelina Pinkhasova [Docket No. 49] currently set

for hearing on July 23, 2024 at 2:00 p.m., along with a supplemental document production.



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       PLEASE TAKE FURTHER NOTICE that, for the Court’s review, copies of the

Discovery Defendants’ amended discovery responses and redlines comparing the changes made

to the amended responses are attached hereto, as follows:

       1. Defendant 18920 N 11th, LLC’s First Amended Objections and Responses to Trustee’s
          First Set of Requests for Production

       2. Redline comparing Defendant 18920 N 11th, LLC’s Objections and Responses to
          Trustee’s First Set of Requests for Production with Defendant 18920 N 11th, LLC’s
          First Amended Objections and Responses to Trustee’s First Set of Requests for
          Production

       3. Defendant 18920 NW 11th, LLC’s First Amended Objections and Responses to
          Trustee’s First Set of Interrogatories

       4. Redline comparing Defendant 18920 N 11th, LLC’s Objections and Responses to
          Trustee’s First Set of Interrogatories with Defendant 18920 NW 11th, LLC’s First
          Amended Objections and Responses to Trustee’s First Set of Interrogatories

       5. Defendant Steven Zakharyayev’s First Amended Objections and Responses to
          Trustee’s First Set of Requests for Production

       6. Redline comparing Defendant Steven Zakharyayev’s Objections and Responses to
          Trustee’s First Set of Requests for Production with Defendant Steven Zakharyayev’s
          First Amended Objections and Responses to Trustee’s First Set of Requests for
          Production

       7. Defendant Steven Zakharyayev’s First Amended Objections and Responses to
          Trustee’s First Set of Interrogatories

       8. Redline comparing Defendant Steven Zakharyayev’s Objections and Responses to
          Trustee’s First Set of Interrogatories with Defendant Steven Zakharyayev’s First
          Amended Objections and Responses to Trustee’s First Set of Interrogatories

       9. Defendant Evelina Pinkhasova’s First Amended Objections and Responses to Trustee’s
          First Set of Requests for Production

       10. Redline comparing Defendant Evelina Pinkhasova’s Objections and Responses to
           Trustee’s First Set of Requests for Production with Defendant Evelina Pinkhasova’s
           First Amended Objections and Responses to Trustee’s First Set of Requests for
           Production

       11. Defendant Evelina Pinkhasova’s First Amended Objections and Responses to Trustee’s
           First Set of Interrogatories




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       12. Redline comparing Defendant Evelina Pinkhasova’s Objections and Responses to
           Trustee’s First Set of Interrogatories with Defendant Evelina Pinkhasova’s First
           Amended Objections and Responses to Trustee’s First Set of Interrogatories

Dated: July 22, 2024

                                             MUNSCH HARDT KOPF & HARR, P.C.

                                             By:     /s/ Conor White
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                                             ATTORNEYS FOR
                                             SCOTT M. SEIDEL, TRUSTEE



                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on this the 22nd day of July, 2024, true and correct
copies of this document were electronically served by the Court’s ECF system on parties entitled
to notice thereof, including counsel for the Defendants.

                                             By: /s/ Conor White
                                                 Conor P. White, Esq.




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